22-10910-shl        Doc 582        Filed 07/21/23 Entered 07/21/23 13:54:39                      Main Document
                                                Pg 1 of 8



                                                                      Objection Deadline: August 21, 2023


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          )
                                                                ) Chapter 11
MADISON SQUARE BOYS & GIRLS CLUB,                               )
INC.,1                                                          ) Case No. 22-10910-SHL
                                                                )
                                    Debtor.                     )
                                                                )

             ELEVENTH MONTHLY FEE STATEMENT OF
DUNDON ADVISERS LLC FOR COMPENSATION FOR SERVICES RENDERED AND
 REIMBURSEMENT OF EXPENSES INCURRED AS CO-FINANCIAL ADVISOR TO
        THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      FOR THE PERIOD FROM JUNE 1, 2023, THROUGH JUNE 30, 2023

    Name of Applicant:                                    Dundon Advisers LLC

    Authorized to Provide Professional Services           The Official Committee of Unsecured Creditors
    to:
    Date of Retention:                                    Effective as of August 8, 2022 by order signed
                                                          on January 6, 2023 [Docket No. 338]
    Period for which Compensation and                     June 1, 2023 – June 30, 20232
    Reimbursement is Sought:
    Monthly Fees Incurred:                                $1,244.50

    20% Holdback:                                         $248.90

    Total Fees Less 20% Holdback:                         $995.60

    Monthly Expenses Incurred:                            $0.00

    Total Fees and Expenses Due:                          $995.60



This is a/an:      x Monthly            Interim            Final Application.


1
  The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is
250 Bradhurst Avenue, New York, New York 10039.
2
  The applicant reserves the right to include any time expended and expenses incurred in the period indicated above
in future application(s) if it is not included herein.
22-10910-shl        Doc 582       Filed 07/21/23 Entered 07/21/23 13:54:39                    Main Document
                                               Pg 2 of 8




        Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of New York (the “Local Rules”), the Order

Authorizing the Retention of Dundon Advisers LLC as Co-Financial to the Official Committee of

Unsecured Creditors Effective as of August 8, 2022 [Docket No. 338], and the Order

Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of

Professionals [Docket No. 125] (the “Interim Compensation Order”),3 Dundon Advisers LLC

(“DA”), counsel for the Official Committee of Unsecured Creditors (the “Committee”) hereby

submits this eleventh monthly fee statement (the “Fee Statement”), seeking compensation for

services rendered and reimbursement of expenses incurred as counsel to the Committee in this

chapter 11 case (the “Case”) during the period June 1, 2023 to June 30, 2023 (the “Fee Period”).

        By this Fee Statement, DA seeks payment in the amount of $995.60, which is eighty

percent (80%) of the total amount of fees incurred for actual and necessary services rendered

during the Fee Period.

                              Services Rendered and Expenses Incurred

       1.        Attached as Exhibit A is a summary of DA’s professionals by individual, setting

forth the (i) name and title of each individual who provided services in connection with this

chapter 11 case during the Fee Period, (ii) current, standard hourly billing rate for each

individual at DA working on this chapter 11 case during the Fee Period, and (iii) the total fees

that each individual billed to this Case during the Fee Period at the applicable billing rate.




3
 Capitalized terms used herein but not otherwise defined herein have the meanings ascribed to them in the Interim
Compensation Order.

                                                        2
22-10910-shl     Doc 582      Filed 07/21/23 Entered 07/21/23 13:54:39             Main Document
                                           Pg 3 of 8



      2.       Attached as Exhibit B is a summary of the services DA rendered during the

Fee Period and the compensation it seeks, by project category.

      3.       Attached as Exhibit C is a summary of expenses that DA incurred during the

Fee Period and for which it seeks reimbursement.

      4.       Attached as Exhibit D is itemized time detail of DA professionals during the Fee

Period and summary materials related thereto.

                                Notice and Objection Procedures

      5.       Notice of this Fee Statement shall be given by hand or overnight delivery, or by

email where available, upon (a) the Debtor, Madison Square Boys and Girls Club, Inc., 250

Bradhurst Avenue, New York, New York 10039 (Attn.: Tim McChristian); (b) Debtor’s

counsel: Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New

York, New York 10019 (Attn.: Alan W. Kornberg, Andrew M. Parlen, John T. Weber); and (c)

William K. Harrington, United States Trustee for Region 2, U.S. Department of Justice, Office of

the U.S. Trustee, 201 Varick Street, Room 1006, New York, New York 10014 (Attn.: Andrea B.

Schwartz and Tara Tiantian) (together with DA, at the mailing or email addresses set forth on the

caption page of this Fee Statement, the “Notice Parties”).
      6.       Objections to this Fee Statement, if any, must be filed with the Court and served

upon DA and the other Notice Parties (set forth at para. 5, above) so as to be received no later than

fifteen (15) calendar days after filing of Fee Statement (the “Objection Deadline”), setting

forth the nature of the objection and the amount of fees or expenses at issue (an “Objection”).

      7.       If no Objections to this Fee Statement are filed and served as set forth above, the

Debtor shall promptly pay eighty percent (80%) of the fees and one hundred percent (100%) of

the expenses set forth in this Fee Statement.

      8.       If an Objection to this Fee Statement is received on or before the Objection

Deadline, the Debtor shall withhold payment of that portion of this Fee Statement to which the

objection is directed and promptly pay the remainder of the fees and disbursements in the

percentages set forth above. See Docket No. 125. To the extent such an Objection is not resolved

                                                  3
22-10910-shl     Doc 582     Filed 07/21/23 Entered 07/21/23 13:54:39             Main Document
                                          Pg 4 of 8



between DA and the party filing the Objection, the Objection shall be preserved and scheduled

for consideration at the next interim fee application hearing to be heard by the Court.


 Date: July 21, 2023                         DUNDON ADVISERS LLC




                                             Matthew Dundon
                                             Tabish Rizvi
                                             Ten Bank Street, Suite 1100
                                             White Plains, NY 10606
                                             Telephone: 914.341.1188
                                             Fax: 212.202.4437
                                             Email: md@dundon.com
                                                    tr@dundon.com

                                             Co-Financial Advisor to the Official Committee of
                                             Unsecured Creditors




                                                 4
22-10910-shl    Doc 582      Filed 07/21/23 Entered 07/21/23 13:54:39          Main Document
                                          Pg 5 of 8



                                       EXHIBIT A
                                Compensation by Professional

 Professional                 Position                Hourly     Total Hours    Total
                                                      Billing       Billed      Compensation
                                                       Rate
 Matthew Dundon               Principal                $850.00          0.00              $0.00
 Tabish Rizvi                 Managing Director        $760.00          0.70           $532.00
 Michael Whalen               Associate                $475.00          1.50           $712.50
                                              Total                     2.20          $1,244.50
          Average Billing Rate (Professionals Only)    $565.68
22-10910-shl    Doc 582     Filed 07/21/23 Entered 07/21/23 13:54:39   Main Document
                                         Pg 6 of 8



                                      EXHIBIT B
                                Compensation by Task Code

 Project Category                                     Total            Total Fees
                                                      Hours
 Business Analysis                                          1.5                     $712.50
 Committee Member / Professional Meetings &                 0.0                       $0.00
 Communications
 Claims Analysis                                            0.0                    $0.00
 Exit and Post-Effective Planning                           0.7                 $532.00
 Investigations                                             0.0                    $0.00
 Retention and Fee Application                              0.0                    $0.00
 Plan and Disclosure Statement                              0.0                    $0.00
                                              Total         2.2                $1,244.50
22-10910-shl   Doc 582   Filed 07/21/23 Entered 07/21/23 13:54:39    Main Document
                                      Pg 7 of 8



                                  EXHIBIT C
                                Expense Summary

 Expense Category                          Service Provider         Total Expenses
                                           (if applicable)
 N/A                                       N/A                N/A
          22-10910-shl        Doc 582        Filed 07/21/23 Entered 07/21/23 13:54:39                Main Document
                                                          Pg 8 of 8



                                                          EXHIBIT D

                                         Itemized Time Detail for the Fee Period

Staff            Date          Description                              Task                 Hours     Rate          Fee
                               Participate on call with S. Landgraber
                               regarding sale of Navy Yards at $12.5
  Tabish Rizvi   06/01/2023                                                Sales Process       0.8      $760.00/hr    $608.00
                               million and remaining workstreams on
                                               the case
                                 Reviewed MORs at the request of
Michael Whalen   06/02/2023                                              Business Analysis     0.6      $475.00/hr    $285.00
                                               counsel
                                 Reviewed MORs at the request of
Michael Whalen   06/05/2023                                              Business Analysis     0.9      $475.00/hr    $427.50
                                               counsel
                                Discuss stipulation filed in the case
                                   earlier today around mediation
                                                                          Exit and Post-
                               between Rockefeller and the survivors
  Tabish Rizvi   06/22/2023                                               Effective Date       0.7      $760.00/hr    $532.00
                               with M. Dundon, including phone call
                                                                             Planning
                                      with J. Lucas to confirm
                                            understanding.




                                                                 1
